
258 S.E.2d 492 (1979)
43 N.C. App. 223
In the Matter of Tammy WEAVER.
No. 7928DC219.
Court of Appeals of North Carolina.
October 2, 1979.
*493 Atty. Gen. Rufus L. Edmisten by Associate Atty. Steven Mansfield Shaber, Raleigh, for the State.
Public Defender Peter L. Roda, Asheville, for respondent-appellant.
WEBB, Judge.
The respondent's first assignment of error is to the admission of the testimony of Pat Webb that the respondent told her she had taken $60.00 from Mr. Roberts. Respondent contends that this testimony should have been excluded because she was not given a Miranda warning. Ms. Webb is not a law enforcement officer, and she was not required to warn respondent of her constitutional right against self-incrimination. However, to be admissible against respondent, the statement she made to Ms. Webb must have been voluntarily and understandingly made. In re Ingram, 8 N.C.App. 266, 174 S.E.2d 89 (1970). In this case the respondent objected to the admission of her confession but offered no evidence relating to the admission of her extrajudicial confession. This Court held in In re Simmons, 24 N.C.App. 28, 210 S.E.2d 84 (1974) that when an objection is made at a juvenile hearing to the admission of an extra-judicial confession on the ground that it was not made voluntarily and understandingly, and there is no conflict in the evidence as it bears upon the circumstances under which the confession was made, the overruling of the objection to the admission of the testimony amounts to an implied finding that the confession was voluntarily and understandingly made. The respondent's first assignment of error is overruled.
The respondent next assigns as error her commitment to the Youth Services Division of the Department of Human Resources. She contends this violates G.S. 7A-286(4) which provides:
In the case of any child who is delinquent or undisciplined, the court shall consider the following summary of State policy in relation to such child in order to design an appropriate disposition to meet the needs of the child and to achieve the objective of the State in exercising these two categories of juvenile jurisdiction:. . . A commitment to training school or to any State institution is generally appropriate only for a child over 10 years of age whose offense would be a crime if committed by an adult and where the child's behavior constitutes some threat to the safety of persons or property in the community so that the child needs to be removed from the community for the protection of the community.
The respondent argues that she was sent to training school because the Buncombe County Department of Social Services could not find appropriate placement for her and not because she was a threat to the safety *494 of persons or property in the community. Apparently respondent bases this argument on the testimony of Pat Webb in which Ms. Webb said that she waited two months to sign the petition because she was trying to work with respondent. We do not base our decision on whether the provisions of the statute are mandatory. Conceding for purpose of argument that Ms. Webb's reason for filing the petition two months after the theft was because she could not find a place for respondent, the court could have felt that the threat to the safety of property in the community required the respondent to be sent to a training school. There was ample evidence for the court to so conclude. We cannot disturb its judgment.
Affirmed.
MORRIS, C. J., and HEDRICK, J., concur.
